Case 1:18-cv-00588-LPS Document 186 Filed 03/19/19 Page 1 of 5 PageID #: 10813



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 CITRIX SYSTEMS, INC.,                      )
                                            )
                  Plaintiff,                )   C.A. No. 18-588-LPS
                                            )
         v.                                 )   JURY TRIAL DEMANDED
                                            )
 WORKSPOT, INC.,                            )
                                            )
                  Defendant.                )

                   LETTER TO THE HONORABLE SHERRY R. FALLON
                            FROM BINDU A. PALAPURA

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 Dated: March 19, 2019
 6116805/ 45039
Case 1:18-cv-00588-LPS Document 186 Filed 03/19/19 Page 2 of 5 PageID #: 10814
                                            March 19, 2019

VIA ELECTRONIC-FILING

    The Honorable Sherry R. Fallon
    U.S. District Court for the District of Delaware
    J. Caleb Boggs Federal Building
    844 N. King Street
    Wilmington, DE 19801-3556
          Re:     Citrix Systems, Inc. v. Workspot, Inc., C.A. No. 18-588-LPS
Dear Magistrate Judge Fallon:
       This dispute arises out of a request by Plaintiff Citrix System Inc. (“Citrix”) to discover
documents that Defendant Workspot, Inc. (“Workspot”) withholds as privileged. See D.I. 173,
180 and 183.

I.        Background

       Between October 9 – 11, 2018 certain Citrix executives received a series of emails
allegedly sent by Workspot’s former CTO, Puneet Chawla, (the “purported Chawla emails”).1
These emails became the subject of a TRO motion filed by Citrix October 16, 2018. D.I. 101.

        The Court heard Citrix’s TRO motion on December 12, 2018 and denied Citrix’s request
for a TRO. However, the Court expressed concerns about a potentially false declaration signed
by Mr. Chawla on October 30, 2018 (the “Chawla Declaration”), in which he denied sending the
purported Chawla Emails. The Court ordered the parties to engage in limited discovery on this
issue. D.I. 145, 110:12-16.

        On December 18, 2018, after repeated requests by Workspot to share the sealed filings
with its board, the parties reached an agreement to allow Workspot’s board (excluding Puneet
Chawla) to review the pleadings relating to Plaintiff’s motion for a TRO. D.I. 143. The board
met thereafter. D.I. 143 (Notice of Subsequent development by Workspot). Mr. Chawla is no
longer with Workspot. Id.

         Consistent with the Court’s Order, Workspot engaged in substantial discovery efforts to
locate and produce any documents responsive to Citrix’s First Set of Requests for Production,
served on December 7, 2018. Workspot and/or its technical consultants searched Workspot’s
server and imaged and searched Mr. Chawla’s Workspot related devices. D.I. 139, ¶ 5. Workspot
produced non-privileged documents to Citrix as a result of this search. In addition, Workspot
provided Citrix with a privilege log detailing those documents Workspot was withholding as
privileged. On January 18, 2019, pursuant to a December 21, 2018 stipulation, and Workspot’s
understanding of Court’s guidance on the limited discovery, Workspot wrote Citrix reporting
that it found no evidence showing that any other Workspot employee was involved in the
purported Chawla emails. D.I. 150.



1
 While Workspot does not contest that Mr. Chawla appears to have been the source of the
emails, at this time Workspot is not in a position to affirmatively represent that he was.
Case 1:18-cv-00588-LPS Document 186 Filed 03/19/19 Page 3 of 5 PageID #: 10815
The Honorable Sherry R. Fallon
March 19, 2019
Page 2

         Despite Workspot’s representations, Citrix maintains it is entitled to discover certain
communications relating to, or resulting from, the email incident which Workspot has withheld
as privileged. On March 8, 2019 the parties entered into a stipulation setting forth procedural
deadlines for this discovery dispute. D.I. 183. Pursuant to this stipulation, on March 15, 2019,
Citrix identified 25 privilege log entries corresponding to 25 Workspot emails (the “25
privileged emails”). For the Court’s convenience, Workspot prepared Exhibit A, which identifies
the titles and affiliations of the authors and recipients frequently appearing in the 25 privileged
emails. Workspot has also submitted copies of the 25 privileged emails for the Court’s in-camera
review.

II.    Analysis

       Workspot objects to producing the 25 privileged emails because they are both irrelevant
and privileged. Each of Workspot’s objections is addressed below.

       A.      The 25 Privileged Emails Are Not Relevant

        The Court permitted discovery for the limited purpose of determining whether anyone
other than Workspot’s former employee, Puneet Chawla, was involved in the emails sent in mid-
October 2018. D.I. 145, 47:4-7. Citrix contends that the limited expedited discovery also extends
to the Chawla Declaration dated October 30, 2018. However, even if that were true, none of the
25 privileged emails are relevant to these issues.

        None of the 25 privileged emails reveal any evidence of Workspot personnel working
with Mr. Chawla to send the purported Chawla emails or to falsify a declaration. Further, 11 of
the 25 privileged emails– namely documents labelled Log Nos. 21, 64, 120, 251, 252, 266, 269,
288, 417, 433, 496 – are dated after the purported Chawla emails were sent and the Chawla
Declaration was executed. Accordingly, the Court’s in camera review should confirm that the 25
privileged emails have no continuing relevance to this dispute.

       B.      Workspot Has Properly Withheld the Emails as Privileged and Attorney
               Work Product

       In addition to its relevance augments, Workspot objects to producing the 25 privileged
emails on the basis that they were properly withheld as privileged. The 25 privileged emails can
be considered in two separate groups, each of which is addressed below-in turn.

               Group I: Correspondence Exchanged Before the October 30 Declaration

         The Group I emails – comprised of documents labelled Log Nos. 7, 15, 62, 104, 125,
232, 255, 256, 260, 263, 312, 342, 346, 516 – include correspondence exchanged on or before
the execution of the Chawla Declaration, the last allegedly improper act to occur. No third
parties are included in any of the Group I emails and each qualifies for the attorney client
privilege and/or squarely falls within the scope of the work product doctrine codified at Rule
26(b)(3), which protects “documents and tangible things ... prepared in anticipation of litigation
or for trial by or for another party or by or for that other party's representative (including the
Case 1:18-cv-00588-LPS Document 186 Filed 03/19/19 Page 4 of 5 PageID #: 10816
The Honorable Sherry R. Fallon
March 19, 2019
Page 3

other party's attorney, consultant, surety, indemnitor, insurer, or agent)...” In re Cendant Corp.
Sec. Litig., 343 F.3d 658, 661–62 (3d Cir. 2003) (quoting Fed.R.Civ.P. 26(b)(3)).

       For these Group I emails, Citrix wrongly asserts the crime-fraud exception pierces
Workspot’s privilege. However, Citrix is unable to demonstrate that the crime-fraud exception
has any bearing on these emails. According to the Third Circuit:

       A party seeking to apply the crime-fraud exception to the work product doctrine must
       demonstrate that there is a reasonable basis to suspect (1) that the lawyer or client was
       committing or intending to commit a crime or fraud, and (2) that the attorney work
       product was used in furtherance of that alleged crime or fraud.

In re Grand Jury Matter, 847 F.3d 157, 165 (3d Cir. 2017) (citations omitted). Citrix cannot
demonstrate either element.

         First Element: Even if the evidence implicates Mr. Chawla for filing a false declaration,
there is no basis for contending Workspot or its attorneys committed any crime or fraud under
the first element. Instead, the investigation and emails indicate any improper conduct by Mr.
Chawla would have been his alone and there is no basis to suspect that Workspot committed any
crime. Indeed, at all relevant times, Workspot was led to believe “that [Mr. Chawla] had not been
involved” in the email incident. D.I. 145, 56:19-21.

         Second Element: Assuming arguendo the email incident or Chawla declaration qualifies
as an alleged crime or fraud by Workspot or its attorneys, Citrix is still unable to prove the
second element of the crime-fraud exception test. The Third Circuit “ha[s] been clear that
evidence of a crime or fraud, no matter how compelling, does not by itself satisfy both elements
of the crime-fraud exception.” In re Grand Jury Matter, 847 F.3d 157, 166 (3d Cir. 2017)
(quotations omitted). In this case, none of the Group I emails reveal Workspot used the
privileged communications “in furtherance” of the crime or fraud being alleged here. In re
Grand Jury Matter, 847 F.3d at 166. Instead, each of the Group I emails reveals Workspot and
its attorneys investigated the purported Chawla emails and worked to prepare its TRO opposition
papers with the good faith understanding that Mr. Chawla was not involved. See e.g. Doc. No.
260, 5-7.

               Group II: Correspondence Exchanged After the October 30 Declaration

        The Group II emails – comprised of documents labelled Log Nos. 21, 64, 120, 251, 252,
266, 269, 288, 417, 433 and 496 – include correspondence for which Citrix cannot plausibly
assert the crime-fraud exception applies because they all occurred after the purported Chawla
emails were sent and after the October 30 Chawla declaration was executed. Magnetar Techs.
Corp. v. Six Flags Theme Park Inc., 886 F. Supp. 2d 466, 487-88 (D. Del. 2012) (“many of these
documents would be outside the scope of the crime-fraud exception because they took place after
the completion of the alleged fraud”).

       Thus, Citrix’s only argument with respect to the Group II emails is that privilege has been
waived because Mr. Chawla’s personal attorney, Mr. Eugene Illovsky, appears in these emails.
Of the 11 Group II emails, Mr. Illovsky appears only in six – namely, documents labelled Log
Case 1:18-cv-00588-LPS Document 186 Filed 03/19/19 Page 5 of 5 PageID #: 10817
The Honorable Sherry R. Fallon
March 19, 2019
Page 4

Nos. 251, 252, 266, 417, 433 and 496. Yet, even for those six Group II emails, Citrix’s waiver
assertions fail.

        First, each email contains work product belonging to Workspot (created, for example, by
Workspot attorneys or technical consultants) for which there was no waiver. “[A] disclosure to a
third-party does not necessarily waive the protection of work product, as it does with attorney-
client privilege.” Magnetar, 886 F. Supp. 2d at 478. “To waive the protection of the work
product doctrine, the disclosure must enable an adversary to gain access to the information.” Id.
“[W]hen the disclosure is … made to a non-adversary, it is appropriate to ask whether the
circumstances surrounding the disclosure evidenced conscious disregard of the possibility that an
adversary might obtain the protected materials.” Id. (quoting Westinghouse Elec. Corp. v.
Republic of Phil., 951 F.2d 1414, 1430 (3rd Cir. 1991)).

        In this case, the six Group II emails involving Mr. Illovsky contain no indication that
Workspot enabled an adversary to gain access to the information, or acted in conscious disregard
of the possibility an adversary would access the information. While not an attorney for
Workspot, Mr. Illovsky was not in an adversarial position to Workspot in the context of the six
Group II emails. Instead, Workspot reasonably assumed Mr. Illovsky would help facilitate
gathering evidence from Mr. Chawla and aid in Workspot’s compliance with its discovery
obligations. For example, documents labelled Log Nos. 252, 266 and 496 include Mr. Illovsky
because they concern the efforts of Workspot’s counsel and its technical consultants in arranging
to have Mr. Chawla’s work devices forensically imaged while Mr. Chawla happened to be
overseas in India in the early December timeframe. Log No., 252, at p. 3.

        To the extent these emails do not qualify for work product protection, they fall within the
common interest privilege doctrine protecting “communications between individuals and entities
and counsel for another person or company.” Robert Bosch LLC v. Pylon Mfg. Corp., 263 F.R.D.
142, 146 (D. Del. 2009). As the purported Chawla emails were being litigated at the time of the
disputed privilege log entries, both Workspot and Mr. Chawla shared a common interest in: (i)
investigating and responding to Citrix’s allegations, (ii) complying with discovery obligations;
and (iii) ensuring evidence was preserved.

                                                     Respectfully,

                                                     /s/ Bindu A. Palapura

                                                     Bindu A. Palapura

BAP/msb/6116805/40539
Enclosure
cc:    Clerk of the Court (via hand delivery)
       Counsel of Record (via electronic mail)
